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                                  UNITED STATES DISTRICT COURT


                                  EASTERN DISTRICT OF CALIFORNIA




 UNITED STATES OF AMERICA,                                      No. 1:21-CR-00156 ADA SKO

                     Plaintiff,
                                                                DETENTION ORDER
          v.                                                    (Violation of Supervised Release)

 KEITH DELRAY BREAZELL.

                     Defendant.



       The defendant having been arrested for alleged violation(s) of the terms and conditions of
supervised release; and
       Having conducted a detention hearing pursuant to Federal Rule of Criminal Procedure 32.l(a)(6)
and 18 U.S.C. § 3143(a), the Court finds that:
    X    The defendant has not met defendant’s burden of establishing by clear and convincing
evidence that defendant is not likely to flee; and/or

    X     The defendant has not met defendant’s burden of establishing by clear and convincing
evidence that defendant is not likely to pose a danger to the safety of any other person or the community
if released under 18 U.S.C. § 3142(b) or (c).
         This finding is based on the reasons stated on the record.



Dated:     June 14, 2024                                    /s/ Sheila K. Oberto              .
                                                    UNITED STATES MAGISTRATE JUDGE
